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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS


MARKEL AMERICAN INSURANCE                              |
COMPANY,                                               |
              Plaintiff                                |
                                                       |
v.                                                     |         Case No.   09-cv-04431
                                                       |
RYAN DOLAN and                                         |
REGIONS BANK,                                          |
                       Defendants                      |

        And

REGIONS FINANCIAL CORPORATION                          |
d/b/a REGIONS BANK,                                    |
                 Counter Plaintiff                     |
                                                       |
v.                                                     |
                                                       |
MARKEL AMERICAN INSURANCE                              |
COMPANY                                                |
              Counter Defendant                        |

                                COUNTER COMPLAINT

     The Counter Plaintiff, Regions Financial Corporation d/b/a Regions Bank, by and

through its attorneys, claims as against Plaintiff as follows:

                                JURISDICTION AND VENUE

     1. This is an action for breach of contract entered into between Markel American

Insurance Co. (hereinafter “Markel”) and Ryan Dolan (hereinafter “Dolan”).

     2. Region’s Financial Corporation d/b/a Regions Bank (hereinafter “Regions”) is a

named Defendant in the original action, and is a “loss payee” under the binder for

insurance and/or policy of insurance issued by Plaintiff.
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   3. Regions’ Counter Complaint arises out of the same transaction and occurrence

that is the subject of Markel’s Complaint against Dolan and Regions and does not require

adding another party over whom the Court cannot acquire jurisdiction.

   4. Venue lies within the Northern District of Illinois as this cause arises out of a

binder of insurance or a policy of insurance originally delivered to Regions and/or Dolan

while residing in Chicago, Illinois.

   5. The Court has supplemental jurisdiction pursuant to 28 U.S.C. Sec. 1367 and

ancillary jurisdiction pursuant to F.R.C.P. 13(a).

                                             FACTS

   6. Upon information and belief, Markel is a corporation organized and existing

under the laws of the state of Illinois, having its principal place of business located at

N14 W23833 Stone Ridge Drive, Waukesha, Wisconsin 53188.

   7. On or about November 14, 2008, Markel issued to Dolan a binder for a policy of

marine insurance (hereinafter the “Binder”) affording Hull & Machinery coverage in the

amount of $460,000.00 for a 2004 Cigarette boat and $12,000.00 for a boat trailer owned

by Dolan. Relevant portions of the Binder are attached to Markel’s Complaint for

Declaratory Judgment at Exhibit B. Markel has also claimed to have issued a full

insurance policy countersigned by Markel with the same terms and conditions as a

supplied “Specimen Policy” (contained within Exhibit B of the Complaint), but as of yet

has not produced any such policy actually issued and countersigned by Markel

(hereinafter the “Policy”)

   8. Regions is a loss payee under the Binder and/or Policy.
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   9. Markel agreed that in return for the premium payment it would provide the

insurance coverages shown on the Binder.

   10. Dolan paid Markel the agreed premium payment.

   11. The Binder and/or Policy provides coverage for physical loss or damage to the

insured watercraft and insured trailer.

   12. The Binder states that the agreed value of the watercraft is $460,000.00 and the

trailer is $12,000.00.

   13. On March 16, 2009 the watercraft and trailer were reported stolen. This is a direct

physical loss under the Binder and/or Policy.

   14. The Binder and/or Policy covers Regions’ losses stemming from the direct

physical loss or damage to the insured watercraft and trailer.

   15. Despite being obligated to completely pay for the loss and damage and in breach

of the terms and conditions of the Binder and/or Policy, Markel refused to pay for

Regions’ damages.

   16. Regions has suffered damages as a result of Markel’s breach of the terms and

conditions of the Binder and/or Policy.

       WHEREFOR, the Counter Plaintiff, Regions Financial Corporation d/b/a Regions

Bank, respectfully requests:

       a.      Judgment in its favor and against Markel American Insurance Company

for breach of contract under the Binder and/or Policy;

       b.      An order compelling Markel American Insurance Company to make

payment to Regions Financial Corporation d/b/a Regions Bank in the amount of the
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stated agreed value of watercraft ($460,000.00) and trailer ($12,000.00), for a total of

$472,000.00; and

       c.      Prejudgment interest in the amount of 5% from March 16, 2009 to the

present ($25,566.67) and accruing;

       d.      Statutory damages under Illinois Insurance Code Section 155 (215 ILCS

5/155) which provides:

In any action by or against a company wherein there is in issue the liability of a company
on a policy or policies of insurance or the amount of the loss payable thereunder, or for
an unreasonable delay in settling a claim, and it appears to the court that such action or
delay is vexatious and unreasonable, the court may allow as part of the taxable costs in
the action reasonable attorney fees, other costs, plus an amount not to exceed any one of
the following amounts: (a) 25% of the amount which the court or jury finds such party is
entitled to recover against the company, exclusive of costs; (b) $60,000; ***; and


       e.      Any and all such other and further relief as the Court may deem proper

and appropriate.



       Respectfully Submitted:

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